Case:19-00247-EAG11 Doc#:44 Filed:03/14/19 Entered:03/14/19 15:39:09    Desc: Main
                           Document Page 1 of 4


                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF PUERTO RICO

  IN RE:                               CASE NO. 19-00247 EAG

  JONATHAN ARROYO MUÑIZ
  XXX-XX-4007
                                       CHAPTER 11
  DEBTOR




              MOTION TO WITHDRAW FROM REPRESENTATION

 TO THE HONORABLE COURT:

       COMES NOW the undersigned attorney and very respectfully ALLEGES,

 STATES and PRAYS as follows:

       1. The undersigned attorney presently holds the legal representation of

           Jonathan Arroyo Muñíz (the “Debtor”) in the above captioned case.

       2. Due to irreconcilable differences with Debtor, undersigned attorney

           understands that she is unable to adequately continue representing the

           Debtor legal interest in the above captioned matter.

       3. Accordingly, undersigned attorney respectfully request this Honorable

           Court withdrawal from the legal representation referenced herein.

       4. Furthermore, undersigned attorney respectfully request this Honorable

           Court a thirty (30) day extension of time to allow the Debtor the

           opportunity to find another legal representation.

       5. Debtor has been notified of all pending matters in the instant case.

           Furthermore, Debtor has been notified of his obligation to comply with

           the deadlines that this Honorable Court and/or the Bankruptcy Code
Case:19-00247-EAG11 Doc#:44 Filed:03/14/19 Entered:03/14/19 15:39:09                       Desc: Main
                           Document Page 2 of 4



            has imposed in regards to the confirmation of the Chapter 11 Plan of

            Reorganization and the consequences of not been able to confirm such

            plan.

        WHEREFORE, it is respectfully requested from this Honorable Court that

 an order be entered granting leave to the undersigned attorney to withdraw from

 the case and allowing Debtor thirty (30) days to appear with new counsel.

        RESPECTFULLY SUBMITTED in Mayaguez, Puerto Rico, this 14th day of

 March, 2019.

                                  CERTIFICATE OF SERVICE


 I hereby certify that on this same date I electronically filed the above document with the Clerk
 of the Court using ECF systems which sent a notification of such filing to all those who have
 registered for receipt of notice by electronic mail. I further certify that I have served to the US
 Trustee, ustpregion21.hr.ecf@usdoj.gov and to standing chapter 13 trustee , and by
 depositing true and exact copies thereof in the United States mail; postage prepaid to the non
 CM/ECF participants as per master address list to all parties in interest to their address of
 record.




                               /S/MIRIAM S. LOZADA RAMIREZ
                                  ATTORNEY FOR DEBTOR
                                    TEL 787-834-3004
                                    Fax (787)986-7346
                                 miriamlozada@gmail.com
                                     POSTAL ADRESS:
                                   PASEO LOS ROBLES
                                    3020 JOSE MONGE
                                  MAYAGUEZ, PR 00682
       Case:19-00247-EAG11 Doc#:44 Filed:03/14/19 Entered:03/14/19 15:39:09   Desc: Main
                                  Document Page 3 of 4


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JONATHAN ARROYO-MUÑIZ             BANCO POPULAR                    DEPARTMENT OF TREASURY
AVE ESTACION 438                  PO BOX 362708                    BANKRUPTCY SECTION (424-B)
ISABELA, PR 00662                 SAN JUAN, PR 00936               P.O. BOX 9024140
                                                                   SAN JUAN, PR 00902-4140



MIRIAM LOZADA RAMIREZ             BANCO SANTANDER                  DTOP
MIRIAM LOZADA RAMIREZ             ATTN. BANKRUPTCY DEPT.           P O BOX 41269
URB PASEO LOS ROBLES              P.O. BOX 362589                  SAN JUAN, PR 00940
3020 JOSE MONGE                   SAN JUAN, P. 00936-2589
MAYAGUEZ, PR 00682-2000

AAA                               CASH MAX                         INTERNAL REVENUE SERVICE
P.O.BOX 7066                      11109 AVE JESUS T PINEIRO        BANKRUTPCY DEPT
SAN JUAN, PR 00916                SAN JUAN, PR 00920               PO BOX 7346
                                                                   PHILADELPHIA, PA 19101-7346



ACCEPTANCE NOW                    CITIFINANCIAL                    ISUANNETTE ORTIZ
5501 HEADQUARTERS DRIVE           300 SAINT PAUL PL
PLANO, TX 75024                   BALTIMORE, MD 21202




AMERICAN EXPRESS                  CLARO                            MCKENZIE CAPITAL LLC
BECKET & LEE LLP                  PO BOX 360998                    3390 MARY STREET SUITE 216
PO BOX 3001                       SAN JUAN, PR 00936               MIAMI, FL 33133
MALVERN, PA 19355-0701



ATT                               COOP A/C DE AGUADA               OFFICE OF US TRUSTEE
POB 192830                        PO BOX 543                       500 TANCA ST
SAN JUAN, PR 00919-2830           AGUADA, PR 00602                 SUITE 301
                                                                   SAN JUAN, PR 00901-1922



AUTORIDAD ACUEDUCTOS              COOP AGUADA                      POPULAR AUTO
PO BOX 70101                      BOX 543                           PO BOX 50045
SAN JUAN, PR 00936                AGUADA, PR 00602                 SAN JUAN, PR 00902-6245




AUTORIDAD DE ENERGIA           COOP DE ISABELA                     RELIABLE FINANCIAL SERVICES
MARIA GORBEA BANKRUPTCY CLAIMS BOX 552                             PO BOX 21382
PO BOX 363928                  ISABELA, PR 00662                   SAN JUAN, PR 00928
SAN JUAN, PR 936



AUTORIDAD DE ENERGIA ELECTRICA CRIM                                RENT A CENTER
ATTN MARIA GORBEA              BANKRUPTCY DIVISION                 16005 CARR 2 SUITE 50
GPO BOX 363928                 PO BOX 195387                       AGUADILLA, PR 00603
SAN JUAN, PR 00936             SAN JUAN, PR 00919
     Case:19-00247-EAG11 Doc#:44 Filed:03/14/19 Entered:03/14/19 15:39:09   Desc: Main
                                Document Page 4 of 4




SAMS CLUB
P O BOX 960023
ATLANTA, GA 30353-0942




TANIA CARDONA MONTALVO
HC-02 BOX 25020
CABO ROJO, PR 00623




UNVERSAL INS CO
PO BOX 9023862
SAN JUAN, PR 00902-




VEHICLE ACCEP CORP
4144 N CENTRAL EXPY STE
DALLAS, TX 75204




WESTLAKE FINANCIAL SERVICES
4751 WILSHIRE BLD 100
LOS ANGELES, CA 90010
